                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE




PATRICIA EZELL                                       )
                                                     )
v.                                                   )       Civil No. 1:08-0073
                                                     )       Judge Trauger
A.G.I.A. , INC. et al                                )



                                           ORDER

       The parties have notified court personnel that this case has settled. It is hereby

ORDERED that a stipulation of dismissal or other settlement document shall be filed within

twenty (20) days of the entry of this Order.



       ENTER this 8th day of May, 2009.




                                                         ALETA A. TRAUGER
                                                          U.S. District Judge




     Case 1:08-cv-00073 Document 21 Filed 05/08/09 Page 1 of 1 PageID #: 87
